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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION


 UNITED STATES OF AMERICA,                      )
                                                )
        v.                                      )
                                                )
                                                )   CASE NO. 1:24-CR-39(LAG)
 MISTRY TROUTMAN,                               )
 DEVERY SPENCE,                                 )
 DERRICK SPENCE, and                            )
 MARCUS WRIGHT,                                 )
                                                )
                 Defendants.                    )
                                                )


                                            ORDER

This case has been scheduled for trial which will begin on January 6, 2025 at

9:00 a.m. in Albany, Georgia. (The pretrial conference in this case will be held on

December 30, 2024 at 2:00 p.m. in Albany.) The parties are on notice that the Court

has scheduled multiple trials to begin on January 6, 2025. The parties should be

prepared to proceed to trial on that date. In the event that the Court has a scheduling

conflict, the dates for the pretrial conference and/or trial will be rescheduled to an

alternative date.

   1. Motions to continue shall be filed no later than seven (7) days before the pretrial
      conference.

             a. Motions to continue shall include a statement that the party has conferred
                with opposing counsel and advise whether opposing counsel has
                consented or objects to the continuance.

             b. Absent extraordinary circumstances, motions to continue not filed seven
                (7) days prior to the pretrial conference will be considered at the pretrial
                conference and counsel must appear at the pretrial conference.

   2. Defense counsel must notify any defendant not in custody of the date, time and
      location of the trial of the case.
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3. Defense counsel shall notify the undersigned IMMEDIATELY if a defendant
   needs an interpreter for any court proceeding.

4. Motions in limine shall be filed no later than December 20,2024. Responses to
   motions in limine should be filed by December 27,2024.

5. Proposed voir dire questions or a statement that the party does not wish to pose
   any such questions shall be filed no later than December 20, 2024. Objections
   to proposed voir dire questions should be filed by December 27,2024. The
   Court will rule on the proposed voir dire questions prior to the commencement of
   the voir dire examination. Failure to timely file proposed voir dire questions may
   result in waiver of attorney’s ability to pose questions to the panel.

6. Copies of juror questionnaires are available in the Clerk’s Office. It is the
   responsibility of each attorney to review these questionnaires prior to trial. Voir
   dire questions may not repeat material contained in the questionnaires.

7. Counsel shall file their requests to charge and a proposed verdict form or a
   statement certifying that the party does not wish to be heard regarding jury
   instructions or the verdict form no later than December 27, 2024. Failure to
   timely file requests to charge may result in waiver of the right to request any
   instructions. Supplemental requests for jury instructions may be filed during trial
   with respect to any issues not reasonably foreseeable prior to trial.

8. Counsel shall send exhibit lists and witness lists to the courtroom deputy at
   marcia_alvarezbenavidez@gamd.uscourts.gov with a copy to opposing counsel
   no later than NOON on January 2, 2024.

9. Evidence should be provided to the courtroom deputy in electronic format no
   later than NOON on January 2, 2024. Parties may choose to continue to
   present evidence during trial in hard copy format. Please review the Court
   website page regarding courtroom technology
   http://www.gamd.uscourts.gov/technology.

10. Sentencing memorandums shall be filed no later than five (5) days before the
    sentencing hearing.

   SO ORDERED, this 18th day of December, 2024.

                                      s/Leslie A. Gardner
                                      LESLIE A. GARDNER, CHIEF JUDGE
                                      UNITED STATES DISTRICT COURT




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